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				ROULSTON v. STATE ex rel. DEPT. OF PUBLIC SAFETY2014 OK CIV APP 46324 P.3d 1261Case Number: 112006Decided: 10/09/2013Mandate Issued: 04/29/2014DIVISION III
Comp. w/111697; 111699; 111752; 111960 &amp; 112002THE COURT OF CIVIL APPEALS OF THE STATE OF OKLAHOMA, DIVISION IIICite as: 2014 OK CIV APP 46, 324 P.3d 1261

COURTNEY ROULSTON, Plaintiff/Appellee,v.STATE OF 
OKLAHOMA, ex rel., DEPARTMENT OF PUBLIC SAFETY, Defendant/Appellant.

APPEAL FROM THE DISTRICT COURT OF OKLAHOMA COUNTY, OKLAHOMA
HONORABLE JAMES B. CROY, JUDGE

AFFIRMED

A. DeAnn Taylor, Ardmore, Oklahoma, and John E. Hunsucker, Oklahoma City, 
Oklahoma, for Plaintiff/Appellee,Mitchell Gray, Assistant General Counsel, 
Oklahoma City, Oklahoma, for Defendant/Appellant.


Bay Mitchell, Judge:
¶1 Defendant State of Oklahoma, ex rel., Department of Public Safety 
(DPS) appeals from a June 24, 2013 Final Order, wherein the trial court set 
aside the driver's license revocation order previously entered against 
Plaintiff/Appellee Courtney Roulston (Driver). The sole basis for setting aside 
the DPS Order was the trial court's determination that the arresting Officer's 
Affidavit was noncompliant with Oklahoma law. DPS appeals from this 
determination in this implied consent case.
¶2 The facts of the underlying stop and arrest are not in dispute. Driver was 
arrested for driving under the influence of alcohol. Driver refused to take the 
State's sobriety test, and was arrested on the basis of the Officer's personal 
observations of her condition and conduct. Driver was subsequently served with 
the Officer's Affidavit and Notice of Revocation/Disqualification. This form 
Affidavit was relied upon by DPS for the initial revocation of Driver's 
license.
¶3 After an administrative hearing, DPS issued an order revoking Driver's 
driving privileges. Driver appealed,1 and the trial court ultimately set aside DPS's 
revocation order on the ground that the Officer's Affidavit does not comply with 
Oklahoma law.
¶4 The Affidavit identifies the Driver, her address, driver's license number 
and vehicle identification. Additionally, the form notes Driver's refusal to 
take the breath-alcohol analysis test. While the form contains a description of 
the Driver's driving behavior and/or circumstances of the arrest as well as a 
description of Driver's condition and actions, the only personal attestations of 
the Officer, which are reflected on the face of the form are as follows: (1) "I 
state under penalty of perjury under the laws of Oklahoma that the foregoing is 
true and correct;" and (2) "I personally hand-delivered a copy of the above 
containing the Notice of Revocation to the person named in Section 1 above."
¶5 Driver argues the implied consent Officer's Affidavit was facially 
defective in that it failed to contain the Officer's sworn report specifically 
required in refusal cases by 47 O.S. 
§753 and in blood or breath test cases by §754(C)2.
¶6 Section 753, which is applicable herein (where Driver has refused 
to submit to his/her blood or breath test) provides in pertinent part as 
follows:

  
    The Commissioner of Public Safety, upon the receipt of a sworn report 
    of the law enforcement officer that the officer had reasonable grounds to 
    believe the arrested person had been driving or was in actual physical 
    control of a motor vehicle upon the public roads, highways, streets, 
    turnpikes or other public place of this state while under the influence 
    of alcohol, any other intoxicating substance, or the combined influence 
    of alcohol and any other intoxicating substance and that the person had 
    refused to submit to the test or tests, shall revoke the license to 
    drive and any nonresident operating privilege for a period as provided 
    by Section 6-205.1 of this title. . . .
Id. (emphasis added).
¶7 Driver contends the Affidavit is fatally flawed because it fails to 
include the statutorily required sworn report that the Officer had reasonable 
grounds to believe the arrested person had been driving a motor vehicle while 
under the influence of alcohol. On the other hand, DPS contends the Affidavit is 
sufficient on the basis of its inclusion of the factual description of the 
driving conduct and the Driver's condition, which under a totality of the 
circumstances analysis, "shows" probable cause to believe the arrestee had 
committed an alcohol-related offense.
¶8 On appeal from orders of implied consent revocations, an appellate court 
will not reverse the district court's findings unless they are erroneous as a 
matter of law or lack sufficient evidentiary foundation. Hollis v. State ex 
rel. Dep't of Public Safety, 2006 OK CIV APP 25, ¶4, 131 P.3d 145, cert. denied. 
Our review of this case requires statutory construction of §753. The primary 
goal of statutory construction is to ascertain and follow the intention of the 
Legislature. TRW/Reda Pump v. Brewington, 1992 OK 31, ¶5, 829 P.2d 15, 20. Furthermore, the 
plain meaning of a statute's language is conclusive except in the rare case when 
literal construction would produce a result demonstrably at odds with 
legislative intent. Samman v. Multiple Injury Trust Fund, 2001 OK 71, ¶13, 33 P.3d 302, 307; City of Tulsa 
v. Public Employees Relations Board, 1998 OK 92, ¶14, 967 P.2d 1214, 1220. The issue 
before us presents a question of law, which we review de novo. An 
appellate court has the plenary, independent, and nondeferential authority to 
reexamine a trial court's legal rulings. Kennedy v. State, ex rel. Dep't of 
Public Safety, 2005 OK CIV APP 
35, ¶12, 114 P.3d 499, 
501.
¶9 Our review of the applicable statutory language reveals a plain and 
unambiguous directive as to the express content of the Officer's sworn report. 
The statute mandates the sworn report expressly provide "that the officer had 
reasonable grounds to believe the arrested person had been driving . . . 
a motor vehicle . . . while under the influence . . ." §753 (emphasis added). 
Further, it is upon the Commissioner of Public Safety's receipt of this specific 
sworn report, which triggers the license revocation.
¶10 Construing an earlier version of §754, the Oklahoma Supreme Court in 1990 
held the Officer's sworn report (that he had reasonable grounds to believe the 
arrested person had been driving or was in actual physical control of a motor 
vehicle while under the influence of alcohol) is a "statutory 
prerequisite for DPS revocation" of a driver's license. Chase v. State ex 
rel. Dep't of Public Safety, 1990 
OK 78, ¶4, 795 P.2d 1048, 
1049 (construing a virtually identical statutory sworn statement content 
requirement as it existed in the governing statute at that time at 47 O.S. Supp. 1986 §754(3)).3 A "patent 
deficiency in the statutorily required DPS material does indeed make the 
Department's revocation order vulnerable to invalidation, on timely appeal, for 
failure to meet the minimum legislatively prescribed standards for the DPS 
paperwork on which its administrative action must be rested." Id. ¶5, at 
1050. In Chase, the Court held "that when, on appeal to the district 
court, the trial judge finds a DPS revocation order was issued on administrative 
documentation that fails to meet the minimum standards mandated by the 
applicable statute, the order should be set aside as fatally flawed." Id. 
¶6, at 1050.
¶11 While the factual details in the Affidavit concerning the Driver's 
driving conduct and condition may constitute the actual grounds giving rise 
to the Officer's reasonable belief that the Driver had been driving under 
the influence, this specific statutorily required sworn statement regarding 
that belief is notably absent.4 Because the Officer's Affidavit did not include the 
sworn report as required by statute as to the Officer's reasonable grounds to 
believe the arrested person had been driving or was in actual physical control 
of a motor vehicle while under the influence of alcohol, the evidence on which 
the administrative revocation action rested is patently deficient. Just as in 
Chase, we find the Affidavit upon which the revocation order rests 
fatally flawed as a matter of law and thus, that order was properly set aside by 
the trial court.

¶12 AFFIRMED.

HETHERINGTON, P.J., and GOREE, J., concur.

FOOTNOTES

1 "A 
person whose driving privilege is revoked or denied or who is denied a hearing 
pursuant to Section 753 or 754 of this title may appeal to the district court in 
the county in which the arrest occurred relating to the test refusal or test 
result, as shown by the records of the Department." 47 O.S. 2011 §6-211(D).

2 Section 
754(C) provides in pertinent part as follows:
Upon receipt of a written blood or breath test report reflecting that the 
arrested person . . . if the arrested person is twenty-one (21) years of age or 
older, [had] a blood or breath alcohol concentration of eight-hundredths (0.08) 
or more, accompanied by a sworn report from a law enforcement officer that 
the officer had reasonable grounds to believe the arrested person had been 
operating or was in actual physical control of a motor vehicle while under the 
influence of alcohol as prohibited by law, the Department shall revoke or 
deny the driving privilege of the arrested person. . . .
Id. (emphasis added).

3 Unlike 
the fatal defect in the affidavit at issue herein, a mere scrivener's error 
(such as an erroneous date on an Officer's affidavit) may be corrected by oral 
testimony. Clawson v. State ex rel. Dep't of Public Safety, 2007 OK CIV APP 89, 168 P.3d 258.

4 
Although not reflected in the record, Driver's appellate brief states the 
affidavit form being used by Oklahoma law enforcement which does not contain the 
statutory language from §753 or §754(C) only became problematic when the Model 
8000 Intoxilizer was approved for use in Oklahoma. Driver states there was no 
issue with the form of the affidavits being used prior to that time. This 
implies that the affidavits used previously contained the required statutory 
language.





	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Court of Civil Appeals Cases&nbsp;CiteNameLevel&nbsp;2005 OK CIV APP 35, 114 P.3d 499, KENNEDY v. STATE ex rel. DEPT. OF PUBLIC SAFETYDiscussed&nbsp;2006 OK CIV APP 25, 131 P.3d 145, HOLLIS v. STATE ex rel. DEPT. OF PUBLIC SAFETYDiscussed&nbsp;2007 OK CIV APP 89, 168 P.3d 258, CLAWSON v. STATE ex rel. DEPT. OF PUBLIC SAFETYDiscussedOklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;1990 OK 78, 795 P.2d 1048, 61 OBJ        2091, Chase v. State ex rel. Dept. of Public SafetyDiscussed&nbsp;1992 OK 31, 829 P.2d 15, 63 OBJ        682, TRW/Reda Pump v. BrewingtonDiscussed&nbsp;2001 OK 71, 33 P.3d 302, 72 OBJ        2703, SAMMAN v. MULTIPLE INJURY TRUST FUNDDiscussed&nbsp;1998 OK 92, 967 P.2d 1214, 69 OBJ        3242, City of Tulsa v. State ex rel. Public Employees Relations BoardDiscussedTitle 47. Motor Vehicles&nbsp;CiteNameLevel&nbsp;47 O.S. 6-211, Right of Appeal to CourtCited&nbsp;47 O.S. 754, Surrender or Seizure of License - Receipt as Temporary License - Revocation or Denial of Driving Privilege - HearingCited&nbsp;47 O.S. 753, Refusal to Submit to TestCited


				
					
					
				
             
         
        
            

		